Case 2:05-cr-20272-SH|\/| Document 10 Filed 07/26/05 Page 1 of 2 Page|D 12

IN THE UNITED sTATEs DISTRICT coURT area 1»_,_. _AB, D C
FoR THE WESTERN DISTRICT 01= TENNESSEE ` '* ' '

WESTERN DIVISION 05 JUL 25 P-H 1,= 2..

 

UNITED STATES OF AMERICA

 

V. 05-20272-Ma

ALBERT SMITH

 

ORDER ON ARRAIGNMENT

 

- F"
This cause came to be heard on 9/|/(/6¢4 o? 4', p?O 03 , the United States Attorney
for this district appeared on behalf of the gh{!ernm#t, and the defendant appeared in person and with

counsel:

721 " 0
NAME fla/3 S»W/MM (k/w 0 is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (3 O) days from the date hereof unless, for good cause
shown to a Distn'ct Judge, such period is extended

he defendant, Who is not in custody, may stand on his present bond.
The defendant, (not havin made bond) (being a state prisoner) (being a federal prisoner)
(bein g held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

5 §L¢M:e /(. jar/dfr

UNITED STATES MAGISTRATE .TUDGE

 

CHARGES: 18:922(g);

U. S. Attorney assigned to Case: S. Hall

Age; 3 /

Tn:`s cost mem entered on the docket sheet in p|ian e
with H.i|e 55 and/or 32fbl FRCrP on __2"_22£___ 0

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20272 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listedl

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

